Case 9:23-cv-81035-MD Document 1-3 Entered on FLSD Docket 07/14/2023 Page 1 of 7




                        EXHIBIT A




                        EXHIBIT A
Case 9:23-cv-81035-MD Document 1-3 Entered on FLSD Docket 07/14/2023 Page 2 of 7
                                                       ONE SHELL PLAZA                 AUSTIN          LONDON
                                                       910 LOUISIANA                   BEIJING         MOSCOW

    BAKER BOTTS LLP                                    HOUSTON, TEXAS
                                                       77002-4995
                                                                                       BRUSSELS
                                                                                       DALLAS
                                                                                                       NEW YORK
                                                                                                       PALO ALTO
                                                                                       DUBAI           RIYADH
                                                       TEL +1 713.229. 1234            HONG KONG       SAN FRANCISCO
                                                       FAX +1 713.229.1522             HOUSTON         WASHINGTON
                                                       BakerBotts.com

     December 18, 2020

     088654.0101
                                                                                       John W. Porter
     BY CERTIFIED MAIL, RETURN RECEIPT REQUESTED                                       TEL +1 713.229.1597
                                                                                       FAX +1 713.229.2797
                                                                                       john.porter@bakerbotts.com
     Internal Revenue Service
     ATTN: E&G
     Mail Stop 824G
     7940 Kentucky Drive
     Florence, KY 41042-2915

                Re:   Estate of Ronald P. Stanton (xxx-xx-I157)
                      Form 706, United States Estate (and Generation Skipping Transfer) Tax Return
                      Date of Death: September 26, 2016

     Dear Internal Revenue Service:

                     Our firm has been engaged as co-counsel for the Co-Executors of the Estate of
     Ronald P. Stanton, Deceased (the "Estate"), as reflected by the enclosed Form 2848, Power of
     Attorney and Declaration of Representative. On behalf of the Estate, we hereby file the enclosed
     original Form 843, Claim for Refund and Request for Abatement, along with an original
     Form 1310, Statement of Person Claiming Refund Due a Deceased Taxpayer, and request that you
     please place your file stamp on and return the extra copy of each form that also is enclosed with
     this letter. We have included a self-addressed, stamped return envelope for your convenience.

                     If you have any questions about this filing or any other matter, please do not
     hesitate to call me at 713.229.1597 or email me at john.porter@bakerbotts.com. Thank you for
     your attention to this matter.

                                                  Very truly yours,
                                                                                            E SESAVICE
                                                                              INIERNAL REVENUED
                                                                                   RECEIV
                                                          . Porter
     Enclosures                                                                                202.0
     cc:    Mr. Fred M. Lowenfels, Esq.
                                                                                   DEC 10
                                                                                      OPUS SUPPORT
            Mr. Edward G. Weiner                                                      VL0RENCE,
                                                                                    GP            # 42
            Mr. Michel Dietlin                                                         Mp1l. UNIT

            Ms. Susan C. Frunzi, Esq.
            Mr. Jon Lobb (firm)
            Mr. Benjamin A. Cohen-Kurzrock (firm)




     56562330
                                       Exhibit A, page 1 of 6
Case 9:23-cv-81035-MD Document 1-3 Entered on FLSD Docket 07/14/2023 Page 3 of 7
      U.S. Postal Service®
      CERTIFIED MAIL RECEIPT
      Domestic Mail Only
                               USPS® ARTICLE NUMBER
                 9414 7266 9904 2141 0798 58

     Certified Mail Fee
     Return Receipt (Hardcopy)         $
     Return Receipt (Electronic)       $
                                                           Postmark
     Certified Mail Restricted Delivery $                    Here
     Postage
     Total Postage and Fees
      Sent to: December 18, 2020
               Internal Revenue Service
                                                               CO
               ATTN: E&G
               Mail Stop 824G                                  C.)
               7940 Kentucky Drive
               Florence, KY 41042-2915

                                   Reference Information
                    John W. Porter 00271
                    088654.0101
                    Estate of Ronald P. Stanton



     PS Form 3800, Facsimile, Jul 2015




                                                      Exhibit A, page 2 of 6
Case 9:23-cv-81035-MD Document 1-3 Entered on FLSD Docket 07/14/2023 Page 4 of 7
                                                      ONE SHELL PLAZA        AUSTIN         LONDON
                                                      910 LOUISIANA          BEING          MOSCOW

    BAKER BOTTS                  LLP
                                                      HOUSTON, TEXAS
                                                      77002-4995
                                                                             BRUSSELS
                                                                             DALLAS
                                                                                            NEW YORK
                                                                                            PALO ALTO
                                                                             DUBAI          RIYADH
                                                      TEL +1 713.229.1234    HONG KONG      SAN FRANCISCO
                                                      FAX +1 713.229. 1522   HOUSTON        WASHINGTON
                                                      BakerBotts.com

    December 18, 2020

    088654.0101
                                                                             John W. Porter
                                                                             TEL +1 713.229.1597
    BY CERTIFIED MAIL, RETURN RECEIPT REQUESTED
                                                                             FAX +1 713.229.2797
                                                                             john.porter@bakerbotts.com
    Internal Revenue Service
    ATTN: E&G
    Mail Stop 824G
    7940 Kentucky Drive
    Florence, KY 41042-2915

               Re:   Estate of Ronald P. Stanton (xxx-xx-57)
                     Form 706, United States Estate (and Generation Skipping Transfer) Tax Return
                     Date of Death: September 26, 2016

    Dear Internal Revenue Service:

                    Our firm has been engaged as co-counsel for the Co-Executors of the Estate of
    Ronald P. Stanton, Deceased (the "Estate"), as reflected by the enclosed Form 2848, Power of
    Attorney and Declaration of Representative. On behalf of the Estate, we hereby file the enclosed
    original Form 843, Claim for Refund and Request for Abatement, along with an original
    Form 1310, Statement of Person Claiming Refund Due a Deceased Taxpayer, and request that you
    please place your file stamp on and return the extra copy of each form that also is enclosed with
    this letter. We have included a self-addressed, stamped return envelope for your convenience.

                    If you have any questions about this filing or any other matter, please do not
    hesitate to call me at 713.229.1597 or email me at john.porter@bakerbotts.com. Thank you for
    your attention to this matter.

                                                 Very truly yours,



                                                        . Porter
    Enclosures
    cc:    Mr. Fred M. Lowenfels, Esq.
           Mr. Edward G. Weiner
           Mr. Michel Dietlin
           Ms. Susan C. Frunzi, Esq.
          Mr. Jon Lobb (firm)
          Mr. Benjamin A. Cohen-Kurzrock (firm)




    56562330
                                       Exhibit A, page 3 of 6
    Case 9:23-cv-81035-MD Document 1-3 Entered on FLSD Docket 07/14/2023 Page 5 of 7


For. 843
(Rev. August 2011)
                                          Claim for Refund and Request for Abatement
                                                                                                                                                  OMB No. 1545-0024
Department of the Treasury                                             ► See separate instructions.
Internal Revenue Service
Use Form 843 if your claim or request involves:
   (a) a refund of one of the taxes (other than income taxes or an employer's claim for FICA tax, RRTA tax, or income tax
        withholding) or a fee, shown on line 3,
   (b) an abatement of FUTA tax or certain excise taxes, or
   (c) a refund or abatement of interest, penalties, or additions to tax for one of the reasons shown on line 5a.
Do not use Form 843 if your claim or request involves:
   (a) an overpayment of income taxes or an employer's claim for FICA tax, RRTA tax, or income tax withholding (use the
        appropriate amended tax return),
    (b) a refund of excise taxes based on the nontaxable use or sale of fuels, or
    (c) an overpayment of excise taxes reported on Form(s) 11-C, 720, 730, or 2290.
Name(s)                                                                                                                     Your social security number
The Estate of Ronald P. Stanton, Deceased                                                                                                              57
Address (number, street, and room or suite no.)                                                                             Spouse's social security number
12032 Corozo Court
City or town, state, and ZIP code                                                                                           Employer identification number (EIN)
Palm Beach Gardens, FL 33418
Name and address shown on return if different from above                                                                    Daytime telephone number
The Estate of Ronald P. Stanton, Deceased
940 Park Avenue, New York, NY 10028                                                                                                        646-604.5216
   1  Period. Prepare a separate Form 843 for each tax period or fee year.                       2 Amount to be refunded or abated:
      From                  09/26/2016               to                09/26/2016                     $                      25,513,292
   3  Tvoe of tax or fee. Indicate the type of tax or fee to be refunded or abated or to which the interest. penalty. or addition to tax
      is related.
      ❑ Employment                0 Estate           O Gift               O Excise               LI Income                O Fee
   4  Type of penalty. If the claim or request involves a penalty, enter the Internal Revenue Code section on which the penalty is
      based (see instructions). IRC section:
   5a Interest, penalties, and additions to tax. Check the box that indicates your reason for the request for refund or abatement. (If
      none apply, go to line 6.)
         El Interest was assessed as a result of IRS errors or delays.
         O A penalty or addition to tax was the result of erroneous written advice from the IRS.
         O Reasonable cause or other reason allowed under the law (other than erroneous written advice) can be shown for not
           assessing a penalty or addition to tax.
    b Date(s) of payment(s) ►

   6   Original return. Indicate the type of fee or return, if any, filed to which the tax, interest, penalty, or addition to tax relates.
         El 706               O 709               O 940                 O 941                O 943                    ❑ 945
      ❑ 990-PF                O 1040              O 1120                O 4720               O Other (specify) ►
  7    Explanation. Explain why you believe this claim or request should be allowed and show the computation of the amount shown
       on line 2. If you need more space, attach additional sheets.
See Attachment A.




Signature. If you are filing Form 843 to request a refund or abatement relating to a joint return, both you and your spouse must sign the claim.
Claims filed by corporations must be signed by a corporate officer authorized to sign, and the officer's title must be shown.
Under penalties of perjury, I declare that I have examined this claim, including accompanying schedules and statements, and, to the best of my knowledge and belief, it is
true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.

                                                                       le„...0 • sr.w. .                                                             /7 c2oac2
Signature (Title, if applicab4 Claims by corporations must be signed by an officer.)                                                     Date


Signature (spouse, if joint return)                                                                                                      Date
                  Print/Type preparer's name                      Preparer's                                    Date
Paid                                                                                                                                Check    O if PTIN
Preparer 'moo b e• k-k) • Pa/I-I CA—
                                                                                                                  the Ito self-employed Po 31 9 4s-
         Firm's name           144 &                             Lt.                                                          Firm's EIN ►
Use Only
                  Firm's address ►          O1 ID         LC.) 1 .5 i?‘14       S4-rf e ri.    Aro         —Ne77t0            Phone no    -TM 221. 1c97
For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.                                    Cat. No. 10180R                Form 843 (Rev. 8-2011)


                                                                   Exhibit A, page 4 of 6
Case 9:23-cv-81035-MD Document 1-3 Entered on FLSD Docket 07/14/2023 Page 6 of 7

 ESTATE OF RONALD P. STANTON, DECEASED
 FORM 843, CLAIM FOR REFUND AND REQUEST FOR ABATEMENT
 DATE OF DEATH: SEPTEMBER 26, 2016 I SSN:    57

 Line 7, Explanation — Attachment A
                 The following statement is attached to and made a part of the Form 843, Claim for
 Refund and Request for Abatement, filed by the Estate of Ronald P. Stanton, Deceased, for the tax
 period ended on September 26, 2016, the date of death of Ronald P. Stanton, requesting a claim for
 refund of tax, plus interest, in the amounts and for the reasons described therein and herein.

                              GROUNDS FOR CLAIM FOR REFUND

                 The Estate of Ronald P. Stanton, Deceased (the "Estate"), asserts that it is entitled
 to a refund of estate tax, plus interest, in addition to a redetermination of the resulting amount of
 estate tax liability that is subject to the election made by the Estate under § 6166 to defer the
 payment of such liability and to pay such liability in installments, based on the following:'

         1.     On September 26, 2016, Ronald P. Stanton ("Mr. Stanton") died. On the date of
 his death, Mr. Stanton owned 6,210 shares of common stock (the "Shares") of Trammo, Inc.
 ("Trammo"), a privately held corporation for which there was in effect for the relevant period an
 election under § 1362(a) to be treated as an S corporation for federal income tax purposes. The
 Shares represented a 75.64% interest in Trammo.

          2.      On or about December 26, 2017, the Estate filed a timely Form 706, United States
 Estate (and Generation-Skipping Transfer) Tax Return (the "Form 706"), a copy of which is
 attached at Tab 1. On the Form 706, the Estate reported the Shares as Schedule B, Item 2, with a
 value at death of $88,900,000. Further, as reflected by Part 3, Line 3, the Estate elected to pay
 taxes it owed in installments, as described in § 6166, attaching the additional information described
 in the instructions to the Form 706 in support of that election, a copy of which is attached at Tab 2.
 The Estate has paid federal estate tax payments totaling $8,503,768, which constitute the
 non-deferrable portion of the total federal estate tax owed by the Estate.

        3.     As to the Shares, the fair market value shown on the Form 706 was determined
 from the December 4, 2017 valuation report titled "Restricted Appraisal Report: Trammo, Inc. as
 of September 26, 2016," authored by Jeffrey S. Tarbell ("Mr. Tarbell"), ASA, CFA, of Houlihan
 Lokey Financial Advisors, Inc., a copy of which is attached at Tab 3.

          4.      Trammo's foreign subsidiaries had approximately $247,800,000 in earnings and
 profits that had not previously been subject to federal income tax. As a result, U.S. repatriation taxes
 would have been levied on any direct or indirect distribution of property by such subsidiaries up to the
 amount of such earnings and profits.

        5.     Due to an oversight, the effect of this liability for built-in repatriation taxes was not
 addressed by Mr. Tarbell in his December 4, 2017 valuation report, resulting in an inadvertent
 overstatement of the fair market value of the Shares on the Form 706.

        6.      In an amended valuation report dated December 12, 2018, a copy of which is
 attached at Tab 4, Mr. Tarbell corrected this oversight by addressing whether and the extent to
 which the fair market value of the Shares was affected by the liability for built-in repatriation taxes

 1 All "§   " or "Section   " references are to a section of the Internal Revenue Code of 1986, as amended.
 56454853
                                          Exhibit A, page 5 of 6
Case 9:23-cv-81035-MD Document 1-3 Entered on FLSD Docket 07/14/2023 Page 7 of 7

 ESTATE OF RONALD P. STANTON,DECEASED
 FORM 843,CLAIM FOR REFUND AND REQUEST OF ABATEMENT
 DATE OF DEATH:SEPTEMBER 26,20161 SSN:      57

 as of the date of Mr. Stanton's death, opining that such liability reduced the Shares' fair market
 value to $23,300,000 based on his accurate and reasonable determination that a liability of
 $86,700,000 for built-in repatriation taxes burdened Trammo's nonoperating assets. To determine
 this liability, Mr. Tarbell multiplied (a) the total untaxed foreign earnings and profits of Trammo's
 controlled foreign corporations, which, as noted above, was approximately $247,800,000, by
 (b) 35%, a conservative approximation of the applicable repatriation tax rate.

         7.       On or about December 20, 2018, the Estate filed a supplemental Four]. 706, United
 States Estate (and Generation-Skipping Transfer) Tax Return (the "Supplemental Form 706"), a
 copy of which is attached at Tab 5. On this return, the Estate reported the Shares as Schedule B,
 Item 2, with a value at death of $23,300,000, and submitted a Supplemental Election under
 Section 6166, a copy of which is attached at Tab 6, reflecting the Estate's election pursuant to §
 6166 to defer federal estate tax of $7,687,624 and to pay such liability in installments of $768,762,
 with the first installment due on June 26, 2022.

         8.     The Estate reserves the right to offer additional evidence regarding each claim and
 allegation made herein, including, without limitation, additional evidence as to the fair market
 value of the Shares as of September 26, 2016, the amount of expenses that are deductible under
 § 2053, and the resulting amount of estate tax liability that is subject to the election made by the
 Estate pursuant to § 6166.

         9.      This claim is filed out of an abundance of caution, in addition to the
 Supplemental Form 706, to evidence the Estate's claim that the fair market value of the Shares (and
 thus, the taxable estate and resulting estate tax liability) be reduced for the reasons set forth above.

            10.   The Estate is the owner of this claim and has not assigned or transferred any part of it.

       11.     Edward G. Weiner is a Co-Executor of the Estate who filed the Form 706 and the
 Supplemental Form 706. He is still acting as a legal representative for the Estate.

                  WHEREFORE, as stated herein, the Estate hereby claims that it is entitled to a
 refund of estate tax, plus interest, in addition to a redetermination of the resulting amount of estate
 tax liability that is subject to the election made by the Estate pursuant to § 6166.




 56454853                                            2
                                         Exhibit A, page 6 of 6
